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-v- 2:04cR20203-01-B m G‘ ’ "”" "

COURTNEY MORROW
200 Jefferson Avenue, #200
Memphis, TN 38103

 

JUDGMENT lN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 and 2 of the indictment on November 16, 2004.
According|y, the court has adjudicated that the defendant is guilty of the following offenses:

Date Count
Tit|e & Section N€ltl-l_r€°f_OED_Y Off€n$e Number(Sl
Concluded
26 U.S.C. §§ 5841, Possession of an Unregistered 01/21/2004 1
5861(d), and 5871 Firearm
18 U.S.C. § 922(g)(3) Addict in Possession of a Firearm 01/21/2004 2

The defendant is sentenced as provided in the following pages of this judgmentl The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the |Vlandatory
Victims Restitution Act of 1996.

|T |S FURTHER ORDERED that the defendant shall notify the United States Attomey for
this district Within 30 days of any change of name1 residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 1/27/1982 lViay 03, 2005
Deft’s U.S. i\/|arsha| No.: 19803-076

Defendant’s l\/|ai|ing Address:
205 C|eaves Loop
Oak|and, TN 38060

 

 

‘ J. oANlEL BREEN

lTED STATES D|STR CT JUDGE
l\/|ay , 2005

'!’nis document entered on the docket sheet in compliance `
Wim sole 55 and/or 32ib) Fnch on §§ j ;Q_( @

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Case No: 2:04CR20208-B Defendant Name: Courtney |V|ORROW Page 2 of4

lMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 48 Nlonths.

The Court recommends to the Bureau of Prisons:
- Participation in the 500 Hour Drug Program
- P|acement in a facility as close to Memphis, Tennessee, as possible

The defendant is remanded to the custody of the United States Marshal.

RETURN

| have executed this judgment as fo||oWs:

 

 

 

 

 

 

 

Defendant delivered on to
at , With a certified copy of this
judgment.
UN|TED STATES MARSHAL
By:

 

Deputy U.S. Marsha|

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Case No: 2:04CR20208-B Defendant Name: Courtney MORROW Page 3 of4

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 2 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

VVhile on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition1 or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation ofncer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally soid, used,
distributed or administered; The defendant shall not associate with any persons engaged in criminal
activity, and shall not associate with any person convicted of a felony unless granted permission to do
so by the probation officer;

8. The defendant shall permit a probation officer to visit him or her at any time at horne or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

9. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

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Case No: 2:04CR20208-B Defendant Name.' Courtney iVlORROW Page 4 of4

10. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

11. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

12. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Scheduie of Payments set
forth in the Criminai Nlonetary Penaities sheet of this judgment

ADD|TIONAL CONDITIONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1) Participate in substance abuse testing and treatment programs as directed by the

Probation Officer.

2) Cooperate in DNA collection as directed by the Probation Officer.

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgmentl pursuant to 18 U.S.C. §
3612(f). Aii of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
$200.00
The Specia| Assessment shall be due immediately

F|NE
No fine imposed

REST|TUTlON
No Restitution was ordered

   

UNITED sTATE DISTRIC COUR - WE"ERNT DSRTCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 44 in
case 2:04-CR-20208 Was distributed by faX, mail, or direct printing on
May 9, 2005 to the parties listed.

 

 

EdWin A. Perry

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Camille Reese McMullen
U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

